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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 PETRÓLEOS DE VENEZUELA, S.A., PDVSA
 PETRÓLEO, S.A., and PDV HOLDING, INC.,

        Plaintiffs and Counterclaim Defendants,              No. 19 Civ. 10023 (KPF)

        - against -                                          JUDGMENT PURSUANT
                                                             TO FED. R. CIV. P. 54(b)
 MUFG UNION BANK, N.A. and GLAS
 AMERICAS LLC,

        Defendants and Counterclaim Plaintiffs.


               For the reasons stated in this Court’s Opinion and Order (“Order”) dated October

16, 2020 (ECF No. 215):

               IT IS ORDERED, ADJUDGED, AND DECREED that, there being no just reason

for delay, final judgment is hereby entered pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure (i) dismissing with prejudice the Complaint for Declaratory Judgment and Injunctive

Relief (ECF No. 1), including all claims asserted therein; and (ii) granting judgment in favor of

Defendants and Counterclaim Plaintiffs MUFG Union Bank, N.A. (the “Trustee”) and GLAS

Americas LLC (the “Collateral Agent”) and against Plaintiffs and Counterclaim Defendants

Petróleos de Venezuela, S.A. (“PDVSA”), PDVSA Petróleo, S.A. (“PDVSA Petróleo”), and

PDV Holding, Inc. on the First through Seventh Counterclaims asserted by the Trustee and

Collateral Agent in Defendants’ Answer and Counterclaims (ECF No. 40). Nothing herein shall

be construed to constitute a judgment on any of the Trustee and Collateral Agent’s Eighth

through Twelfth Counterclaims, or on the amount of the fees and expenses to which the Trustee

and Collateral Agent are entitled in connection with this action or otherwise. The Court will
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address those matters if necessary in future orders or judgments. The pendency of such claims

shall not affect the finality of this Judgment.

               IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Trustee,

as Trustee under the Indenture dated October 27, 2016, between PDVSA as issuer, PDVSA

Petróleo as guarantor, the Trustee, the Collateral Agent, the Law Debenture Trust Company of

New York as registrar, transfer agent, and principal paying agent, and Banque Internationale à

Luxembourg, Société Anonyme as Luxembourg paying agent (the “Indenture”), shall recover

from PDVSA and PDVSA Petróleo, jointly and severally, the sum of $1,924,126,058, which

comprises the following amounts:

               (1) $1,683,764,500 in overdue and unpaid principal on the 8.5% senior secured

notes issued by PDVSA pursuant to the Indenture (the “2020 Notes”);

               (2) $228,196,861 in overdue and unpaid interest on principal on the 2020 Notes

through December 1, 2020; and

               (3) $12,164,697 in interest on overdue and unpaid installments of interest on

principal on the 2020 Notes through December 1, 2020.

               IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, in addition to

the foregoing amounts, the Trustee shall recover from PDVSA and PDVSA Petróleo, jointly and

severally, $450,346 per day in interest for each day from December 1, 2020, to the day on which

judgment is entered on the docket of the Court.

               IT IS FURTHER ORDERED, ADJUDGED, DECREED, AND DECLARED

that:

               (1) the 2020 Notes and the Governing Documents are valid and enforceable;

               (2) a default has occurred under the terms of the Indenture;




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               (3) the Trustee and Collateral Agent are permitted to exercise the remedies for

default set forth in the Indenture and the Pledge Agreement;

               (4) the Trustee is entitled to direct the Collateral Agent to sell the collateral

securing the 2020 Notes; and

               (5) the Collateral Agent is entitled to so sell.

               Unless otherwise defined herein, capitalized terms shall have the meanings

assigned to them in the Order.

               Nothing herein shall preclude the Trustee or the Collateral Agent from

(i) recovering fees and expenses pursuant to the Court’s Order; (ii) recovering any amounts in

addition to the foregoing amounts that may be due or may become due under the Indenture, the

Pledge Agreement, the 2020 Notes, or otherwise after November 30, 2020, including but not

limited to the fees and costs associated with enforcing this Judgment or any appeal therefrom; or

(iii) enforcing the Indenture, the Pledge Agreement, or the 2020 Notes, or seeking to remedy any

subsequent or continuing breaches of the Indenture, the Pledge Agreement, or the 2020 Notes.

               The Court retains jurisdiction to enforce this Judgment and to adjudicate all

claims not determined by this Judgment.

 Dated: New York, New York
        December 1, 2020



                                                      ____________________________________
                                                              Hon. Katherine Polk Failla
                                                             United States District Judge




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